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                            UNITED STATES DISTRICT COURT
                           SOUTHERN DISTRICT OF NEW YORK

 In re

 CUSTOMS AND TAX ADMINISTRATION
 OF THE KINGDOM OF DENMARK
 (SKAT) TAX REFUND LITIGATION                        18-MD-2865 (LAK)

                                                     ECF Case

 This document relates to:                           ANSWER OF
 Case No. 18-cv-10064(LAK)                           MATTHEW TUCCI

                                                     JURY TRIAL DEMANDED



         Defendant Matthew Tucci (“Defendant” or “Tucci”), by and through his attorneys,

CAPLIN & DRYSDALE, CHARTERED, as and for his Answer to the Complaint dated May 18,

2018 (the “Complaint”) states as follows:

                                     AS TO THE PARTIES

         1.     Defendant denies having knowledge or information sufficient to form a belief as

to the truth of the allegations contained in Paragraph 1, except to admit that SKAT is a taxing

authority of Denmark.

         2.     Defendant admits the allegations contained in Paragraph 2.

         3.     Defendant admits the allegations contained in the first sentence of Paragraph 3.

Defendant denies the allegations contained in the second sentence of Paragraph 3, except to

admit that Defendant Tucci communicated on behalf of Defendant The Jump Group LLC 401K

Plan (“Jump Plan”) regarding its tax refund claims.




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                          AS TO THE NATURE OF THE ACTION

       4.      Defendant denies having knowledge or information sufficient to form a belief as

to the truth of the allegations contained in Paragraph 4, except to admit that SKAT is a taxing

authority of Denmark.

       5.      Defendant denies having knowledge or information sufficient to form a belief as

to the truth of the allegations contained in Paragraph 5, except Defendant denies participating in

a fraudulent tax refund scheme to deceive SKAT.

       6.      Defendant denies having knowledge or information sufficient to form a belief as

to the truth of the allegations contained in Paragraph 6, except Defendant denies participating in

a fraudulent scheme.

       7.      Defendant denies having knowledge or information sufficient to form a belief as

to the truth of the allegations contained in Paragraph 7, except Defendant admits that Defendant

Jump Plan submitted refund claims for tax withheld on dividends earned on the shares of Danish

companies, and except Defendant denies submitting fraudulent tax refund claims on any

claimant’s behalf or otherwise participating in a fraudulent scheme.

       8.      Defendant denies having knowledge or information sufficient to form a belief as

to the truth of the allegations contained in Paragraph 8, except Defendant admits that Defendant

Jump Plan submitted withholding tax refund claims and received tax refunds, and except

Defendant denies submitting fraudulent tax refund claims on any claimant’s behalf or otherwise

participating in a fraudulent scheme.

       9.      Defendant denies having knowledge or information sufficient to form a belief as

to the truth of the allegations contained in Paragraph 9, except Defendant admits that Defendant

Jump Plan submitted withholding tax refund claims and received tax refunds, and Defendant




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denies submitting fraudulent tax refund claims on any claimant’s behalf or otherwise

participating in a fraudulent scheme.

       10.     Defendant denies having knowledge or information sufficient to form a belief as

to the truth of the allegations contained in Paragraph 10, except Defendant admits that Defendant

Jump Plan received refunds of tax, and except Defendant denies submitting fraudulent tax refund

claims on any claimant’s behalf or otherwise participating in a fraudulent scheme.

       11.     Defendant denies having knowledge or information sufficient to form a belief as

to the truth of the allegations contained in Paragraph 11, except Defendant denies submitting

fraudulent tax refund claims on any claimant’s behalf or otherwise participating in a fraudulent

scheme.

       12.     Defendant denies the allegations contained in Paragraph 12, except Defendant

does not have knowledge sufficient to admit or deny allegations with respect to all claimants.

               a.      Defendant denies having knowledge or information sufficient to form a

belief as to the truth of the allegations contained in Paragraph 12.a., except Defendant admits

communicating in writing with the Payment Agent regarding the tax refund claims on behalf of

Defendant Jump Plan.

               b.      Defendant denies having knowledge or information sufficient to form a

belief as to the truth of the allegations contained in Paragraph 12.b., except Defendant denies

submitting fraudulent tax refund claims on any claimant’s behalf or otherwise participating in a

fraudulent scheme.

               c.      Defendant denies having knowledge or information sufficient to form a

belief as to the truth of the allegations contained in Paragraph 12.c., except Defendant, upon




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information and belief, denies the allegations that Defendant Jump Plan did not own shares in

Danish companies and had not earned dividends on those shares.

          13.   Defendant denies the allegations contained in Paragraph 13.

          14.   Defendant denies having knowledge or information sufficient to form a belief as

to the truth of the allegations contained in Paragraph 14, except to admit that SKAT made

payments to the Payment Agent for Defendant Jump Plan, who subsequently disbursed the

payments, and except that Defendant denies participating in a fraudulent scheme.

          15.   Defendant denies having knowledge or information sufficient to form a belief as

to the truth of the allegations contained in Paragraph 15, except Defendant denies participating in

a fraudulent scheme.

          16.   Defendant denies the allegations contained in Paragraph 16, except Defendant

admits that Defendant Jump Plan was paid withholding tax refunds.

                         AS TO THE JURISDICTION AND VENUE

          17.   Paragraph 17 alleges legal conclusions to which no answer is required. To the

extent that an answer is required to Paragraph 17, Defendant admits that the matter in

controversy exceeds the sum or value of $75,000, that SKAT is an agency or instrumentality of a

foreign state, and that Defendants are citizens of a state, and Defendant denies allegations in

Paragraph 17 to the extent they suggest that the Court has subject matter jurisdiction over the

matter.

          18.   Paragraph 18 alleges legal conclusions to which no answer is required.




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                             AS TO THE FACTUAL ALLEGATIONS

       19.     Defendant denies having knowledge or information sufficient to form a belief as

to the truth of the allegations contained in Paragraph 19, except to admit that SKAT is the

relevant taxing authority.

       20.     Defendant denies having knowledge or information sufficient to form a belief as

to the truth of the allegations contained in Paragraph 20, except to admit that a certain percentage

of dividends is withheld by Danish companies as withholding tax on dividends.

       21.     Defendant denies having knowledge or information sufficient to form a belief as

to the truth of the allegations contained in Paragraph 21, except to admit that under certain

circumstances foreign shareholders may be entitled to a refund of the withholding tax.

       22.     Defendant denies having knowledge or information sufficient to form a belief as

to the truth of the allegations contained in Paragraph 22, except to admit that under certain

circumstances, U.S. pension plan shareholders may be entitled to a refund of tax withheld on

dividends paid by Danish companies.

       23.     Defendant denies having knowledge or information sufficient to form a belief as

to the truth of the allegations contained in Paragraph 23, except Defendant admits that Defendant

Jump Plan submitted withholding tax refund claims and that SKAT paid refunds of the

withholding tax, and except Defendant denies submitting fraudulent tax refund claims on any

claimant’s behalf or otherwise participating in a fraudulent scheme.

       24.     Defendant denies having sufficient knowledge or information to admit or deny

allegations contained in Paragraph 24.

       25.     Defendant denies having knowledge or information sufficient to form a belief as

to the truth of the allegations contained in Paragraph 25, except Defendant admits that Defendant




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Jump Plan submitted withholding tax refund claims, and except Defendant denies submitting

fraudulent tax refund claims on any claimant’s behalf or otherwise participating in a fraudulent

scheme.

       26.     Defendant denies having knowledge or information sufficient to form a belief as

to the truth of the allegations contained in Paragraph 26, except to admit that Defendant Jump

Plan submitted refund claims to SKAT through Acupay System LLC (“Acupay”), and Defendant

denies submitting fraudulent tax refund claims on any claimant’s behalf or otherwise

participating in a fraudulent scheme.

       27.     Defendant denies having knowledge or information sufficient to form a belief as

to the truth of the allegations contained in Paragraph 27, except to admit that Defendant Jump

Plan received tax refund payments.

       28.     Defendant denies having knowledge or information sufficient to form a belief as

to the truth of the allegations contained in Paragraph 28, except to admit or deny as follows:

               a.     Defendant admits that the withholding tax refund claims submitted on

behalf of Defendant Jump Plan included a cover letter from the Payment Agent;

               b.     Defendant admits that the tax refund claims submitted on behalf of

Defendant Jump Plan set out the information as set forth in the allegations contained in

Paragraphs 28.b and 28.b.i through iv;

               c.     Defendant denies the allegations contained in Paragraph 28.c., except to

admit that the tax refund claims submitted on behalf of Defendant Jump Plan included “credit

advice” notes that described the security and the amount of dividend tax withheld;

               d.     Defendant denies the allegations contained in Paragraph 28.d, except that

Defendant admits that the tax refund claims submitted on behalf of Defendant Jump Plan




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included a document executed by Defendant Tucci in connection with the Payment Agent’s

submission of the tax refund claims on behalf of Defendant Jump Plan; and

               e.      Defendant admits that the tax refund claims submitted on behalf of

Defendant Jump Plan included a statement from the Internal Revenue Service containing the

information as set forth in the allegations contained in Paragraph 28.e.

       29.     Defendant denies having knowledge or information sufficient to form a belief as

to the truth of the allegations contained in Paragraph 29, except to admit that the credit advice

notes included with the tax refund claims submitted on behalf of Defendant Jump Plan

referenced shareholdings in Danish-listed companies, and except Defendant denies submitting

fraudulent tax refund claims on any claimant’s behalf or otherwise participating in a fraudulent

scheme.

       30.     Defendant denies having knowledge or information sufficient to form a belief as

to the truth of the allegations contained in Paragraph 30.

       31.     Defendant denies having knowledge or information sufficient to form a belief as

to the truth of the allegations contained in Paragraph 31, except to admit that SKAT paid

withholding tax refunds for Defendant Jump Plan to its Payment Agent.

       32.     Defendant denies having knowledge or information sufficient to form a belief as

to the truth of the allegations contained in Paragraph 32, except to deny submitting fraudulent tax

refund claims on any claimant’s behalf or otherwise participating in a fraudulent scheme.

       33.     Defendant denies having knowledge or information sufficient to form a belief as

to the truth of the allegations contained in Paragraph 33, except to admit that the tax refund

claims submitted on behalf of Defendant Jump Plan were submitted through its Payment Agent,

and except that Defendant denies that the tax refund claims submitted on behalf of Defendant




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Jump Plan were submitted as described in Paragraph 28 of the Complaint, except as otherwise

admitted in response to Paragraph 28.

       34.     Defendant denies having knowledge or information sufficient to form a belief as

to the truth of the allegations contained in the first sentence of Paragraph 34, except Defendant

denies submitting fraudulent tax refund claims on behalf of any claimant or otherwise

participating in the fraudulent scheme. Defendant denies the allegations contained in the second

sentence of Paragraph 34, except to admit that Defendant Tucci provided Acupay with a power

of attorney relating to the submission of the tax refund claims for Defendant Jump Plan.

       35.     Defendant denies having knowledge or information sufficient to form a belief as

to the truth of the allegations contained in the first sentence of Paragraph 35, except Defendant

denies submitting a fraudulent tax refund claim on any claimant’s behalf or otherwise

participating in the fraudulent scheme. Defendant denies the allegations contained in the second

sentence of Paragraph 35, except to admit that Defendant Jump Plan submitted its tax refund

claims through Acupay.

       36.     Defendant denies having knowledge or information sufficient to form a belief as

to the truth of the allegations contained in the first sentence of Paragraph 36, except Defendant

admits that Defendant Jump Plan represented to SKAT that it held shares in, and received

dividends net of withholding tax from, large Danish-listed companies. Defendant denies having

knowledge or information sufficient to form a belief as to the truth of the allegations contained in

the second sentence of Paragraph 36, except Defendant admits that sixteen (16) withholding tax

refund claims totaling at least $11,363,000 (US), were made on behalf of Defendant Jump Plan.

Defendant denies having knowledge or information sufficient to form a belief as to the truth of

the allegations contained in the third sentence of Paragraph 36, except Defendant admits that the




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tax refund claims were submitted to SKAT on behalf of Defendant Jump Plan on or about April

17, 2015; April 24, 2015; May 1, 2015; and May 22, 2015.

       37.     Defendant denies the allegations contained in Paragraph 37.

       38.     Defendant denies having knowledge or information sufficient to form a belief as

to the truth of the allegations contained in Paragraph 38, except Defendant admits that SKAT

made the tax refund claim payment on or about May 19, 2015 and July 6, 2015, in connection

with the tax refund claims submitted on behalf of Defendant Jump Plan, and Defendant denies

submitting false tax refund claims on any claimant’s behalf or otherwise participating in a

fraudulent scheme.

       39.     Defendant denies having knowledge or information sufficient to form a belief as

to the truth of the allegations contained in Paragraph 39 as related to all claimants. To the extent

the allegations in Paragraph 39 relate to the Defendant, Defendant denies the allegations, except

as admitted in response to Paragraph 40 through 41.

       40.     Paragraph 40 alleges legal conclusions to which no answer is required. To the

extent that an answer to Paragraph 40 may be deemed required and to the factual component of

the allegations, Defendant denies the allegations contained in Paragraph 40, except that

Defendant admits executing a document on or about March 17, 2015, that contained the language

quoted in Paragraph 40.

       41.     Defendant denies having knowledge or information sufficient to form a belief as

to the truth of the allegations contained in Paragraph 41, except Defendant admits signing

powers of attorney on behalf of a number of U.S. claimants, including Defendant Jump Plan, and

except Defendant denies submitting false tax refund claims on any claimant’s behalf or

otherwise participating in a fraudulent scheme.




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       42.     Defendant denies having knowledge or information sufficient to form a belief as

to the truth of the allegations contained in Paragraph 42 except Defendant admits that the

Payment Agent submitted withholding tax refund claims on behalf of Defendant Jump Plan, and

Defendant denies submitting fraudulent tax refund claims on behalf of any claimants or

otherwise participating in a fraudulent scheme.

       43.     Paragraph 43 alleges legal conclusions to which no answer is required. To the

extent that an answer to Paragraph 43 may be deemed required and to the factual component of

the allegations, Defendant denies having knowledge or information sufficient to form a belief as

to the truth of the allegations contained in Paragraph 43, except to admit that Defendant

communicated in writing with the Payment Agent regarding tax refund claims on behalf of

Defendant Jump Plan.

       44.     Defendant denies the allegations contained in Paragraph 44, except as admitted in

response to Paragraph 28, and Defendant denies having knowledge or information sufficient to

form a belief as to the truth of the allegations contained in Paragraph 44 as it relates to other

claimants.

       45.     Defendant denies having knowledge or information sufficient to form a belief as

to the truth of the allegations contained in Paragraph 45, except to admit that tax refund claims

submitted on behalf of Defendant Jump Plan contained a power of attorney executed by

Defendant and requested that SKAT pay such claims to the Payment Agent’s bank account.

       46.     Defendant denies the allegations contained in Paragraph 46, except to admit that

SKAT paid the tax refund claim payments to the Payment Agent with respect to Defendant Jump

Plan and that such Payment Agent subsequently distributed the proceeds. Defendant denies




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having knowledge or information sufficient to form a belief as to the truth of the allegations

contained in Paragraph 46 as it relates to other claimants.

         47.   Defendant denies the allegations contained in Paragraph 47, except to admit that

“credit advice” or similar notes showing Defendant Jump Plan’s ownership of shares of Danish

companies was included with its withholding tax refund claims. Defendant denies having

knowledge or information sufficient to form a belief as to the truth of the allegations contained in

Paragraph 47 as it relates to other claimants.

         48.   Defendant denies the allegations contained in Paragraph 48, except Defendant

admits that the example alleged in Paragraph 48 refers to a credit advice statement that was

included with one of the tax refund claims submitted on behalf of Defendant Jump Plan.

         49.   Defendant denies the allegations contained in Paragraph 49. Moreover, Paragraph

49 alleges legal conclusions to which no answer is required.

         50.   Defendant denies having knowledge or information sufficient to form a belief as

to the truth of the allegations contained in Paragraph 50, except to admit that Defendant is aware

that SKAT erroneously concluded that the tax refund claims submitted by Defendant Jump Plan

were fraudulent.

                              AS TO THE CAUSES OF ACTION

                                             COUNT I

                               (Fraud – Against Both Defendants)

         51.   Defendant repeats and incorporates his responses in paragraphs 1 through 50

above.

         52.   Defendant denies the allegations in Paragraph 52.

         53.   Defendant denies the allegations in Paragraph 53.




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         54.   Defendant denies the allegations in Paragraph 54.

         55.   Defendant denies the allegations in Paragraph 55.

                                          COUNT II

                  (Aiding and Abetting Fraud – Against Both Defendants)

         56.   Defendant repeats and incorporates his responses in paragraphs 1 through 55

above.

         57.   Defendant denies the allegations in Paragraph 57.

         58.   Defendant denies the allegations in Paragraph 58.

         59.   Defendant denies the allegations in Paragraph 59.

         60.   Defendant denies the allegations in Paragraph 60.

         61.   Defendant denies the allegations in Paragraph 61.

         62.   Defendant denies the allegations in Paragraph 62.

                                          COUNT III

                      (Unjust Enrichment – Against Both Defendants)

         63.   Defendant repeats and incorporates his responses in paragraphs 1 through 62

above.

         64.   Defendant denies the allegations in Paragraph 64.

         65.   Defendant denies the allegations in Paragraph 65.

         66.   Defendant denies the allegations in Paragraph 66.

         67.   Defendant denies the allegations in Paragraph 67.




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                                             COUNT IV

                      (Money Had & Received – Against Both Defendants)

         68.    Defendant repeats and incorporates his responses in paragraphs 1 through 67

above.

         69.    Defendant denies the allegations in Paragraph 69.

         70.    Defendant denies the allegations in Paragraph 70.

                                              COUNT V

                    (Negligent Misrepresentation – Against All Defendants)

         71.    Defendant repeats and incorporates his responses in paragraphs 1 through 70

above.

         72.    Paragraph 72 alleges legal conclusions to which no answer is required. To the

extent that an answer to Paragraph 72 may be deemed required, Defendant denies the allegations

in Paragraph 72.

         73.    Defendant denies the allegations in Paragraph 73.

         74.    Defendant denies the allegations in Paragraph 74.

         75.    Defendant denies the allegations in Paragraph 75.

                             AS TO THE REQUEST FOR RELIEF

         76.    The allegations set forth in the “WHEREFORE” clause constitute Plaintiff’s

request for relief to which no response is required. To the extent that a response is necessary,

Defendant denies that Plaintiff is entitled to the relief requested, or to any relief.




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                                  AFFIRMATIVE DEFENSES

                                  As A First Affirmative Defense

       77.     The Complaint fails to state a claim upon which relief can be granted for the

reason that it does not assert a legal theory cognizable as a matter of law and it fails to allege

sufficient facts to support a cognizable legal claim.

                                As A Second Affirmative Defense

       78.     The claims are barred by the long-standing doctrine of the Revenue Rule, which

prohibits one sovereign from using courts of another sovereign to enforce its revenue laws.

                                 As A Third Affirmative Defense

       79.     The claims alleged in the Complaint are barred by the applicable statutes of

limitations.

                                As A Fourth Affirmative Defense

       80.     The claims alleged in the Complaint are barred in whole or in part by the

equitable doctrines of unclean hands, waiver, laches, and estoppel.

                                  As A Fifth Affirmative Defense

       81.     The claims alleged in the Complaint are barred in whole or in part for failure to

join indispensable or necessary parties.

                                 As A Sixth Affirmative Defense

       82.     The recovery by the Plaintiff, if any, should be barred because the subject matter

of this lawsuit is the subject of another pending legal proceeding.

                                As A Seventh Affirmative Defense

       83.     Plaintiff’s action is barred because of its failure to exhaust administrative and

other legal remedies available to it.




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                                As An Eighth Affirmative Defense

          84.   If the Plaintiff suffered any loss, damage, or injury, such damages were caused in

whole or in part by, and arose out of, Plaintiff’s culpable conduct, including but not limited to

contributory negligence and assumption of risk.

                                 As A Ninth Affirmative Defense

          85.   If the Plaintiff suffered any loss, damages, or injury, such alleged injuries and

damages were caused, in whole or in part, by the negligence, assumption of risk, fault, and/ or

other culpable parties and/or third parties to this action, other than Defendant, for whose acts or

omissions or breaches of legal duty Defendant is not liable.

                                 As A Tenth Affirmative Defense

          86.   The claims alleged in the Complaint are barred in whole or in part by collateral

estoppel.

                              As An Eleventh Affirmative Defense

          87.   The claims alleged in the Complaint are barred in whole or in part because

Plaintiff has failed to mitigate its alleged damages.

                                As A Twelfth Affirmative Defense

          88.   The claims alleged in the Complaint are barred in whole or in part by res judicata.

                              As A Thirteenth Affirmative Defense

          89.   If the Plaintiff suffered any loss, damage, or injury, such damages are barred in

whole or part to the extent such damages have been or will be paid or indemnified by a collateral

source.




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                             As A Fourteenth Affirmative Defense

       90.     The recovery by the Plaintiff, if any, should be reduced by application of New

Jersey law, including N.J.S.A. § 2A:15-5.3.

                              As A Fifteenth Affirmative Defense

       91.     The claims alleged in the Complaint are barred in whole or in part by waiver and

release.

                              As A Sixteenth Affirmative Defense

       92.     Defendant reserves the right to add to and/or amend these Affirmative Defenses

because of information that may become known during the course of discovery.


       WHEREFORE, Defendant respectfully requests a judgement dismissing the Complaint

with prejudice, together with his costs, disbursements and attorney’s fees and such other further

relief as the Court may deem just and proper.



Dated: New York, New York

       July 29, 2019

                                                     CAPLIN & DRYSDALE, CHARTERED


                                                     s/ Mark D. Allison___________________
                                                     By: Mark D. Allison

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